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                                                                             Tuesday, 01 July, 2025 03:25:25 PM
                                                                                  Clerk, U.S. District Court, ILCD

                            IN THE UNITED STATES DISTRICT COURT
                            FOR THE CENTRAL DISTRICT OF ILLINOIS
                                    SPRINGFIELD DIVISION

MAURISA GAY, as Special Representative of              )
the Estate of ANTHONY GAY,                             )
                                                       )
               Plaintiff,                              )       Case No. 19-CV-1133
                                                       )
v.                                                     )
                                                       )
JOHN BALDWIN, et al.,                                  )       Judge: Sue E. Myerscough
                                                       )
               Defendants.


                   DEFENDANTS’ RULE 37(C)(1) MOTION TO STRIKE
                    PLAINTIFF’S SUPPLEMENTAL EXPERT REPORT

       Pursuant to Rule 37(c)(1) of the Federal Rules of Civil Procedure, Defendants John

Baldwin, Sylvia Butler, Dr. Jamie Chess, Dr. Melvin Hinton, Rob Jeffreys, Terri Kennedy,

Michael Melvin, Sonja Nicklaus, Shane Reister, Emily Ruskin, Jeff Sims, John Varga, and Justin

Wilks (collectively, the IDOC Defendants) and Wexford Health Sources, Inc., Kelly Renzi,

Psy.D., and William Puga, M.D. (collectively, the Wexford Defendants), jointly move to strike

Plaintiff’s Supplemental Expert Report of Dr. Terry A. Kupers (Updated Expert Report) as

violative of Rule 26(a)(2) of the Federal Rules.

       For the reasons explained in Defendants’ Memorandum in Support, this Court should strike

Plaintiff’s Updated Expert Report, which was submitted nearly two years after the August 2023

deadline for Plaintiff’s expert disclosures. Rule 26(a)(2) requires a party to provide an expert report

that contains a “complete” statement of that expert’s opinions and bases and reasons supporting

those opinions by the Court’s August 12, 2023 deadline. On June 23, 2025, Plaintiff served the

Defendants with Dr. Kupers’ Updated Expert Report, which included new opinions and new

sources, which were previously available to Plaintiff. Rule 37(c)(1) requires this Report be struck

because Plaintiff’s failure to timely submit this evidence was neither justified nor harmless.

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Dated: July 1, 2025                          Respectfully submitted,


/s/ Robert T. Shannon                        /s/ Joseph N. Rupcich_________
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